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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                )
IN RE: PHILIPS RECALLED CPAP, BI-LEVEL PAP,
                                                )
AND MECHANICAL VENTILATOR PRODUCTS
                                                )
LITIGATION                                                Master Docket Nos. 21-mc-1230
                                                )
IN RE: SOCLEAN, INC. MARKETING, SALES                     and 22-mc-152
                                                )
PRACTICES AND PRODUCTS LIABILITY                )         MDL Nos. 3014 and 3021
LITIGATION                                      )
This document relates to: All Actions Involving )
SoClean                                         )


          THE PHILIPS PARTIES’ MOTION TO TREAT THE DOCUMENTS
           PRODUCED IN MDL NO. 3021 AS PRODUCED IN MDL NO. 3014

              Philips RS North America LLC, Koninklijke Philips N.V., Philips North America

LLC, Philips Holding USA Inc., and Philips RS North America Holding Corp. respectfully move

for an order deeming all documents produced in MDL No. 3021 as produced in MDL No. 3014.

Dated: August 29, 2024                            Respectfully submitted,

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